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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


REBECCA C. ABEYTA,                  )
                                    )
      Plaintiff                     )
                                    )
v.                                  )
                                    )                       Docket No. 1:15-cv-00429-JDL
TROOPER THOMAS N. BUREAU, II, and   )
UNKNOWN SUPERVISOR, and COL. ROBERT )
A. WILLIAMS, CHIEF OF MAINE STATE   )
POLICE                              )
                                    )
      Defendants                    )


                                       MOTION TO DISMISS

       NOW COMES the Plaintiff by and through undersigned counsel, and respectfully moves

this Court to Dismiss the pending action. The grounds for this Motion are that Plaintiff and

Defendant have resolved the action through a confidential Settlement. Counsel for Defendants

has authorized me to represent that he has no objection to this Motion.




Dated: 12/23/15                                             /s/ Michael J. Waxman
                                                            Attorney for Plaintiff
                                                            Rebecca C. Abeyta




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                           UNITED STATES DISTRICT COURT
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REBECCA C. ABEYTA,                  )
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      Plaintiff                     )
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v.                                  )
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TROOPER THOMAS N. BUREAU, II, and   )
UNKNOWN SUPERVISOR, and COL. ROBERT )
A. WILLIAMS, CHIEF OF MAINE STATE   )
POLICE                              )
                                    )
      Defendants                    )



                                 CERTIFICATE OF SERVICE

        This is to certify that on this 23rd day of December, 2015 Plaintiff’s Motion to Dismiss
was sent electronically to the CM/ECF system which will in turn, send copies to all counsel of
record.




Dated: 12/23/15                                             /s/ Michael J. Waxman, Esq.
                                                            Michael J. Waxman, Esq.
                                                            Attorney for Plaintiff
                                                            Rebecca Abeyta


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